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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Me2 Productions, Inc.
                               Plaintiff,
v.                                                 Case No.: 1:17−cv−03914
                                                   Honorable Robert W. Gettleman
Does 1−25, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 7, 2017:


       MINUTE entry before the Honorable Robert W. Gettleman: This action is
voluntarily dismissed without prejudice pursuant to Federal Rules of Civil Procedure
41(a)(1), each party to bear its own attorney's fees and costs. Status hearing set for
12/7/2017 is stricken. Civil case terminated. Mailed notice (cn)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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